                             UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF DELAWARE


In re:                                                                 Chapter 11

iMedia Brands, Inc., et al.,1                                          Case No. 23-10852 (KBO)

                                            Debtors.                   (Jointly Administered)



                  NOTICE OF AGENDA OF MATTERS SCHEDULED FOR
                 HEARING ON JULY 5, 2023 AT 2:00 P.M. (EASTERN TIME)2


                             The hearing will be conducted via Zoom only.

                Please see below for the connection and registration information.
    Please Note: All individuals participating by video must register at least 2 hours prior to
     the hearing at the provided link. After registering your appearance by Zoom, you will
      receive a confirmation email containing information about joining the hearing. You
                   must use your full name when registering and logging into
                      Zoom or you will not be granted access to the hearing.

                                              Registration Link:

    https://debuscourts.zoomgov.com/meeting/register/vJItdOGopzgqG6jJXE8xCFDpa06g5
                                          Zhflz8




MATTERS GOING FORWARD

1.       Debtors’ Motion for Entry of Interim and Final Orders (I) Authorizing Postpetition Use of
         Cash Collateral; (II) Granting Adequate Protection to Certain Prepetition Secured Parties

1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number are: ValueVision Media Acquisitions, Inc. (8670); iMedia Brands, Inc. (3770); ValueVision Interactive,
Inc. (8730); Portal Acquisition Company (3403); VVI Fulfillment Center, Inc. (5552); ValueVision Retail Inc.
(2155); JWH Acquisition Company (3109); PW Acquisition Company, LLC (0154); EP Properties, LLC (3951); FL
Acquisition Company (3026); Norwell Television, LLC (6011); and 867 Grand Avenue, LLC (2642). The Debtors’
service address is 6740 Shady Oak Road, Eden Prairie, MN 55344-3433.

2
  This agenda contains hyperlinks to filed documents pursuant to the Court’s Interim Order re: Cessation of Hand
Deliveries, dated March 13, 2020. Parties may access the filed documents through the hyperlink for a fee through
the Court’s website at www.deb.uscourts.gov.


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        and C&B Newco; (III) Scheduling a Second Interim Hearing; and (IV) Granting Related
        Relief [Filed 6/29/2023, Docket No. 18]

             Response Deadline: At the hearing

             Responses Received:

             a. Statement of Siena Lending Group, LLC Regarding Debtors’ Requested First-Day
                Relief [Filed 6/30/2023, Docket No. 57]

             Related Documents:

             a. Declaration of James Alt in Support of Debtors’ Motion for Entry of Interim and
                Final Orders (I) Authorizing Postpetition Use of Cash Collateral; (II) Granting
                Adequate Protection to Certain Prepetition Secured Parties and C&B Newco; (III)
                Scheduling a Second Interim Hearing; and (IV) Granting Related Relief [Filed
                6/29/2023, Docket No. 19]

             b. Notice of Hearing on Debtors’ Motion for Entry of Interim Order (I) Authorizing
                Postpetition Use of Cash Collateral; (II) Granting Adequate Protection to Certain
                Prepetition Secured Parties and C&B Newco; (III) Scheduling a Second Interim
                Hearing; and (IV) Granting Related Relief [Filed 6/29/2023, Docket No. 42]

             c. Notice of Filing of Revised Interim Order (I) Authorizing Postpetition Use of
                Cash Collateral; (II) Granting Adequate Protection to Certain Prepetition Secured
                Parties and C&B Newco; (III) Scheduling a Second Interim Hearing; and (IV)
                Granting Related Relief [Filed 6/30/2023, Docket No. 53]

             d. Interim Order (I) Authorizing Postpetition Use of Cash Collateral; (II) Granting
                Adequate Protection to Certain Prepetition Secured Parties and C&B Newco; (III)
                Scheduling a Second Interim Hearing; and (IV) Granting Related Relief [Entered
                6/30/2023, Docket No. 61]

             e. Notice of Entry of Interim Order and Further Interim Hearing Regarding Debtors’
                Motion for Entry of Interim and Final Orders (I) Authorizing Postpetition Use of
                Cash Collateral; (II) Granting Adequate Protection to Certain Prepetition Secured
                Parties and C&B Newco; (III) Scheduling a Second Interim Hearing; and (IV)
                Granting Related Relief [Filed 6/30/2023, Docket No. 68]

        Status: This matter is going forward with respect to a further interim order.




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Dated: June 30, 2023          PACHULSKI STANG ZIEHL & JONES LLP
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                              Proposed Counsel to the Debtors and Debtors in Possession




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